           Case 4:19-cv-00804-KGB Document 5 Filed 11/05/20 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

MORRELL WILLIAMS                                                                          PLAINTIFF

v.                                 Case No. 4:19-cv-00804-KGB

OCSE                                                                                   DEFENDANT

                                             JUDGMENT

         Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Morrell Williams’s complaint is dismissed without prejudice (Dkt. No. 2). The relief sought is

denied. The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal

taken from the Order and Judgment dismissing this action is considered frivolous and not in good

faith.

         So adjudged this 5th day of November, 2020.



                                                               ___________________________
                                                               Kristine G. Baker
                                                               United States District Judge
